         Case 1:18-cr-00693-RMB Document 273
                                         275 Filed 01/11/21
                                                   01/12/21 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA                           No. 18-cr-00693-RMB-3

         v.                                          NOTICE OF
                                                     EMERGENCY MOTION FOR
  RICHARD GAFFEY                                     COMPASSIONATE RELEASE
                                                     AND INDICATIVE RULING



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of His Emergency Motion for Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) and

Request for Indicative Ruling, dated January 11, 2021, and the accompanying Declaration of

Kimberly Teague, dated January 10, 2021, Defendant Richard Gaffey will move this Court, before

the Honorable Richard M. Berman, on a date and at a time to be determined by the Court at the

U.S. Courthouse, 500 Pearl Street, New York, New York, for an indicative ruling, pursuant to Fed.

R. Crim. P. 37(a)(3), that it would grant compassionate release, pursuant to 18 U.S.C.

§ 3582(c)(1)(A), if this case were remanded by the U.S. Court of Appeals for the Second Circuit

for that purpose.



                      Government to respond by 1/26/2021
                      with input from BOP.




                           1/12/2021
                                               1
        Case 1:18-cr-00693-RMB Document 273
                                        275 Filed 01/11/21
                                                  01/12/21 Page 2 of 3




                                    Respectfully submitted,

                                    RICHARD GAFFEY

                                    By his attorneys,

                                    /s/ Daniel Marx
                                    Daniel N. Marx
                                    William W. Fick (pro hac vice forthcoming)
                                    Amy Barsky (pro hac vice forthcoming)
                                    FICK & MARX LLP
                                    24 Federal Street, 4th Floor
                                    Boston, MA 02110
                                    (857) 321-8360
                                    DMARX@FICKMARX.COM
                                    WFICK@FICKMARX.COM
                                    ABARSKY@FICKMARX.COM

Dated: January 11, 2021




                                       2
         Case 1:18-cr-00693-RMB Document 273
                                         275 Filed 01/11/21
                                                   01/12/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I, Daniel N. Marx, as counsel to Defendant Richard Gaffey, certify that on January 11,

2021, I caused the foregoing document to be served by ECF on the registered participants as

indicated on the Notice of Electronic Filing.


                                                /s/ Daniel N. Marx
                                                Daniel N. Marx




                                                  3
